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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             District of New Jersey

__________________________________________________________________________________________________________________

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                                                             May 18, 2020

Filed Via ECF
The Honorable Claire C. Cecchi
United States District Judge
Martin Luther King Jr. Federal Building and U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

                 Re:      United States v. Matthew Brent Goettsche, et al.,
                          Crim. No. 19-877

Your Honor:

      The United States of America, through the undersigned (the
“Government”), respectfully submits this letter to provide this Court with a
proposed scheduling order that has been agreed upon by defendants Matthew
Brent Goettsche, Jobadiah Sinclair Weeks, and Joseph Frank Abel.

      The Government respectfully also requests that the Court schedule a
status conference in this case for a date during or after the week of July 13,
2020.

                                                             Respectfully submitted,

                                                             CRAIG CARPENITO
                                                             United States Attorney




                                                             By: Jamie L. Hoxie
                                                             Assistant U.S. Attorney
